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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-01549-WYD

  TIMOTHY H. KING,

         Plaintiff,

  v.


  BELMONT FINANCE, LLC

         Defendant.


                                    NOTICE OF SETTLEMENT


         PLEASE TAKE NOTICE TIMOTHY H. KING (“Plaintiff”), hereby notifies the Court

  that the Plaintiffs and Defendant, have settled all claims between them in this matter and are in

  the process of completing the final closing documents and filing the dismissal. The Parties

  anticipate this process to take no more than 60 days and request that the Court retain jurisdiction

  for any matters related to completing and/or enforcing the settlement. The Parties propose to file

  a stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

  pray the Court to stay all proceedings until that time.

  Respectfully submitted this 2nd day of August 2018

                                                              s/ Nathan C. Volheim
                                                              Nathan C. Volheim
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                                                                Attorney for Timothy H. King

                                    CERTIFICATE OF SERVICE

            I hereby certify that I today caused a copy of the foregoing document to be electronically

  filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

  record.


                                                                s/ Nathan C. Volheim_____
                                                                Nathan C. Volheim




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